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August 14, 2017

Honorable Stephanie Rothstein
Milwaukee County Courthouse
901 N. Ninth St.

Milwaukee, WI 53233

Re: — Chanise Adams, et al v. Geico Ins. Co., et al
Milwaukee 17-CV-2748
Dear Judge Rothstein:

This letter is to inform the Court that pursuant to the Stipulation Regarding Reimbursement
of the United States, which was filed with the Milwaukee County Clerk on May 2, 2017, the United
States will not be taking part in the scheduling conference on August 23, 2017.

Should you have any questions, please do not hesitate to contact me at (414) 297-1700.

Very truly yours,

GREGORY J. HAANSTAD

on

BRIAN PAWLAK
Assistant United States Attorney

cc: Ellison Hitt, Esq.
Joshua I. Fiscus, Esq.

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